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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

IN RE:                                               §
 INFOW, LLC et al.                                   §        CASE NO. 22-60020
                                                     §
                                                     §        CHAPTER 11 (Subchapter V)
                                                     §        Jointly Administered
DEBTORS.1                                            §


                NOTICE OF CONTINUED FIRST MEETING OF CREDITORS

        YOUR ARE HEREBY NOTIFIED that the meeting of creditors scheduled for May 26, 2022

has been continued to June 2, 2022, at 10:00 a.m. Any party wishing to participate may call 866-

707-5468, then enter the Participant Code 6166997 followed by the pound or hashtag symbol - #.

No other deadlines or provisions described in the Official Form 309 Notice of Chapter 11

Bankruptcy Case are changed by this notice are changed by this notice, and all such deadlines and

provisions remain in full effect except as may be otherwise ordered by the Court.

Dated: May 26, 2022                                  KEVIN M. EPSTEIN
                                                     United States Trustee Region 7
                                                     Southern and Western Districts of Texas

                                                     By:      /s/ Jayson B. Ruff
                                                              Jayson B. Ruff
                                                              Trial Attorney
                                                              MI State Bar No. P69893
                                                              Office of the United States Trustee
                                                              515 Rusk Avenue, Suite 3516
                                                              Houston, TX 77002
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                                                              (713) 718-4670 Fax
                                                              Jayson.B.Ruff@usdoj.gov




1 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
